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                                                 UNITED STATES DISTRICT COURT
                                                 EASTERN DISTRICT OF KENTUCKY
                                                SOUTHERN DIVISION AT PIKEVILLE
                                                      CRIMINAL MINUTES

Case No. 7:22-cr-16-REW-EBA-1,2                                  At: Pikeville                             Date: September 29, 2022

U.S.A. vs. AARON TYLER WELCH                          X present    X custody          bond              OR          Age:
           SAMANTHA NICHOLE DANIELS                   X present    X custody          bond              OR          Age: __
___________________________________________________________________________________________________________
DOCKET ENTRY: This matter was called for initial appearance and arraignment with counsel and defendants present as noted.
United states Probation Officer Brandan Hall was present.

The Court confirmed, by representation from the AUSA, that the United States is aware of and fulfilling its obligation to see that any
crime victim(s) are notified of, and accorded, the rights provided by 18 U.S.C. 3771(a).

Pursuant to Rule 5(f), the Court orders and emphasizes the prosecution’s disclosure obligation under Brady v. Maryland, 373 U.S. 83
(1963), and its progeny. Due process requires that the United States affirmatively disclose to a defendant all favorable evidence within its
control, including exculpatory proof impacting a witness’s credibility, where the evidence is material either to guilt or to punishment such
that its suppression undermines confidence in the proceeding’s outcome. The possible consequences of a violation of this disclosure
obligation include, without limitation, an adverse jury instruction, dismissal of charges, contempt proceedings, and/or a new trial.

United States oral motion for Detention is properly made and is hereby GRANTED. The defendants waived timing on the issue of
detention reserving the right to move for a Detention Hearing at a later date, if applicable. Therefore, the defendants shall remain in
custody pending further Order of the Court.

PRESENT: HON. EDWARD B. ATKINS, MAGISTRATE JUDGE

Assistant U.S. Attorney: Justin E. Blankenship for Andrew H. Trimble

Counsel for Defendant: Richard A. Hughes & Sebastian M. Joy                   X Present      X Appointed         Retained

I, Tara Adkins, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file. KYED-PIK_7-22-cr-16-1,2_20220929_130027
____________________________________________________________________________________________________________
PROCEEDINGS:          INITIAL APPEARANCE AND ARRAIGNMENT

X        Copy of Indictment previously given to the defendants.

X        Defendants states true name is Aaron Tyler Welch & Samantha Nichole Daniels.

X        The Court has reviewed the financial affidavits executed by the defendants and finds the defendants qualify for court
         appointed counsel.

X        Richard A. Hughes is appointed to represent the Defendant, Aaron Tyler Welch, under the Criminal Justice Act.

X        Sebastian M. Joy is appointed to represent the Defendant, Samantha Nichole Daniels, under the Criminal Justice Act.

X        Defendants waives formal arraignment.

X        Defendants advised of Constitutional Rights pursuant to Rule 5, F. R. Cr. P.

X        Defendants waives reading of Indictment. Defendants acknowledged an understanding of the charges and possible penalties.

X        Defendants pleads NOT GUILTY to all counts.

X        PRETRIAL MOTIONS are to be filed pursuant to the Courts’ pretrial order to be entered.

X        Jury Trial is scheduled for Tuesday, December 6, 2022 at 8:30 a.m., with counsel to be present at 8:00 a.m., in Pikeville,
         Kentucky, before the Hon. Robert E. Wier. The estimated length of trial is three (3) days.

X        Defendant remanded to the custody of the United States Marshal pending further orders.
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This the 29th day of September, 2022.




cc: COR, USM, USPO; Deputy Clerk’s Initials TDA; TIC: 0/10
